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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

JOSEPH SANSEVERO,                             )
                                              )
                       Plaintiff,             )         4:12-cv-00641-BRW-JTR
                                              )
       v.                                     )         Judge Wilson
                                              )         Magistrate Judge Ray
PALISADES COLLECTION, LLC.,                   )
                                              )
                       Defendant.             )

   STIPULATION TO DISMISS WITH PREJUDICE PURSUANT TO SETTLEMENT

       By agreement, the parties to the above-captioned action, by and through their respective

attorneys, state as follows:

       1.      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

               hereby stipulate and agree that the above-captioned action should be dismissed.

       2.      The parties, by agreement, respectfully request that this case be dismissed with

               prejudice and without costs to any party, all costs having been paid and all matters in

               controversy for which this action was brought having been fully settled,

               compromised and adjourned.

Date: February 22, 2013

For Plaintiff, Joseph Sansevero                       For Defendant, Palisades Collection, LLC.

  /s David M. Marco                                     /s with consent Michael S. Poncin
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